                                        Case 3:13-cv-00939-BEN-NLS Document 1 Filed 04/19/13 PageID.1 Page 1 of 11



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                                    7
                                      Attorneys for Plaintiff,
                                    8 Timothy Barrett
                                    9
                                   10                    UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                   11
                                   12                                           Case No.: '13CV0939 BEN NLS
K AZEROUNI L AW G ROUP , APC




                                           Timothy Barrett, Individually
  2700 N. Main Street, Ste. 1000
   Santa Ana, California 92705




                                   13      and On Behalf of All Others
                                           Similarly Situated,                  CLASS ACTION
                                   14
                                   15                       Plaintiff,          Complaint for Damages and
                                           v.                                   Injunctive Relief Pursuant To The
                                   16                                           Telephone Consumer Protection
                                   17      Ecom Interactive, LLC d/b/a          Act, 47 U.S.C § 227 et seq.
                                           ZBiddy d/b/a ZBiddy.com,
                                   18                                           Jury Trial Demanded
                                   19                       Defendant.
                                   20
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                                   28
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                                    1                                     INTRODUCTION
                                    2   1.    TIMOTHY BARRETT (“Plaintiff”) brings this Class Action Complaint for
                                    3         damages, injunctive relief, and any other available legal or equitable
                                    4         remedies, resulting from the illegal actions of Ecom Interactive, LLC d/b/a
                                    5         ZBiddy d/b/a ZBiddy.com (“Defendant” or “ZBiddy”), in negligently and/or
                                    6         intentionally contacting Plaintiff on Plaintiff’s cellular telephone, in
                                    7         violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.
                                    8         (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows
                                    9         upon personal knowledge as to himself and his own acts and experiences,
                                   10         and, as to all other matters, upon information and belief, including
                                   11         investigation conducted by his attorneys.
                                   12   2.    The Ninth Circuit recently affirmed certification of a TCPA class action
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                                   13         remarkably similar to this one in Meyer v. Portfolio Recovery Associates,
                                   14         LLC, __ F.3d__, 2012 WL 4840814 (9th Cir. Oct. 12, 2012).
                                   15                               JURISDICTION AND VENUE
                                   16   3.    This Court has federal question jurisdiction because this case arises out of
                                   17         violation of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC,
                                   18         132 S. Ct. 740 (2012).
                                   19   4.    Venue is proper in the United States District Court for the Southern District
                                   20         of California pursuant to 18 U.S.C. § 1391(b) because Plaintiff resides in the
                                   21         State of California, the harm to Plaintiff occurred in the State of California
                                   22         and within the County of San Diego, and Defendant is subject to personal
                                   23         jurisdiction in the County of San Diego and within this judicial district
                                   24         because it conducts business there.
                                   25                                         PARTIES
                                   26   5.    Plaintiff is, and at all times mentioned herein was, a citizen and resident of
                                   27         the State of California. Plaintiff is, and at all times mentioned herein was, a
                                   28         “person” as defined by 47 U.S.C. § 153 (10).
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                                    1   6.    Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
                                    2         at all times mentioned herein was, a limited liability company whose
                                    3         primary address is in Delaware, and is a resident of the State of Delaware.
                                    4         Defendant, is and at all times mentioned herein was, a limited liability
                                    5         company and is a “person,” as defined by 47 U.S.C. § 153 (10). Plaintiff
                                    6         alleges that at all times relevant herein Defendant conducted business in the
                                    7         State of California and in the County of San Diego, and within this judicial
                                    8         district.
                                    9                                 FACTUAL ALLEGATIONS
                                   10   7.    At all times relevant, Plaintiff was a citizen of the State of California.
                                   11         Plaintiff is, and at all times mentioned herein was, a “person” as defined by
                                   12         47 U.S.C. § 153 (10).
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                                   13   8.    Defendant is, and at all times mentioned herein was, a limited liability
                                   14         company and a “person,” as defined by 47 U.S.C. § 153 (10).
                                   15   9.    At all times relevant, Defendant conducted business in the State of
                                   16         California and in the County of San Diego, and within this judicial district.
                                   17         Defendant owns and operates a website advertising the sale of consumer
                                   18         goods at purported discounted prices.
                                   19   10.   At no time did Plaintiff provide Plaintiff’s cellular telephone number to
                                   20         Defendant.
                                   21   11.   At no time did Plaintiff ever enter into a business relationship with
                                   22         Defendant.
                                   23   12.   On or about March 26, 2013, at approximately 1:22 p.m. (PST), Defendant
                                   24         sent an unsolicited text message from telephone number (586) 307-5561 to
                                   25         Plaintiff’s cellular telephone number ending in “8824.”
                                   26   ///
                                   27   ///
                                   28   ///
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                                    1   13.   This unsolicited SPAM text message read as follows:
                                    2                            Cellular User #64939 Get
                                    3                            An Iphone5 now for only
                                                                 $25. Sign Up now at
                                    4                            bit.ly/ZVcfxb !
                                    5
                                        14.   On information and belief, the purpose of this text message was to solicit
                                    6
                                              business from Plaintiff regarding an online consumer website owned and
                                    7
                                              operated by Defendant. When a consumer clicks on the link bit.ly/ZVcfxb,
                                    8
                                              he is directed to a website called ZBiddy.com, which website advertises
                                    9
                                              consumer goods as part of a penny auction.
                                   10
                                        15.   On information and belief, Defendant sends the same type of unsolicited text
                                   11
                                              message, with slight variations and from various telephone numbers, to
                                   12
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                                              consumers throughout the United States.
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                                   13
                                        16.   Through such conduct, Defendant contacted Plaintiff on Plaintiff’s cellular
                                   14
                                              telephone attempting to advertise ZBiddy’s goods and/or services via an
                                   15
                                              “automatic telephone dialing system” (“ATDS”), as defined by 47 U.S.C. §
                                   16
                                              227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).
                                   17
                                        17.   This ATDS has the capacity to store or produce telephone numbers to be
                                   18
                                              called, using a random or sequential number generator.
                                   19
                                        18.   The telephone number Defendant to which Defendant sent an automated text
                                   20
                                              message was assigned to a cellular telephone service for which Plaintiff
                                   21
                                              incurs a charge for incoming calls and text messages pursuant to 47 U.S.C. §
                                   22
                                              227 (b)(1).
                                   23
                                        19.   This text message constituted a call that was not for emergency purposes as
                                   24
                                              defined by 47 U.S.C. § 227 (b)(1)(A)(i).
                                   25
                                        20.   Plaintiff did not provide Defendant or its agent prior express consent to send
                                   26
                                              text messages, including unsolicited text messages, to his cellular telephone,
                                   27
                                              pursuant to 47 U.S.C. § 227 (b)(1)(A).
                                   28   ///
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                                    1   21.   This automated text message by Defendant, or its agent, violated 47 U.S.C. §
                                    2         227(b)(1).
                                    3                              CLASS ACTION ALLEGATIONS
                                    4   22.   Plaintiff brings this action on behalf of himself and on behalf of all others
                                    5         similarly situated (the “Class”).
                                    6   23.   Plaintiff represents and is a member of the Class, which includes all persons
                                    7         within the United States who received any unsolicited text message from
                                    8         Defendant, which text message was not made for emergency purposes or
                                    9         with the recipient’s prior express consent, within the four years prior to the
                                   10         filing of this Complaint.
                                   11   24.   Defendant and its employees or agents are excluded from the Class. Plaintiff
                                   12         does not know the number of members in the Class, but believes the
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                                   13         members of the Class number in the several hundreds, if not thousands.
                                   14         Thus, this matter should be certified as a Class action to assist in the
                                   15         expeditious litigation of this matter.
                                   16   25.   Plaintiff and members of the Class were harmed by the acts of Defendant in
                                   17         at least the following ways: Defendant, either directly or through its agents,
                                   18         illegally contacted Plaintiff and the members of the Class via their cellular
                                   19         telephones thereby causing Plaintiff and the Class members to incur certain
                                   20         cellular telephone charges or reduce cellular telephone time for which
                                   21         Plaintiff and the Class members previously paid, by having to retrieve or
                                   22         administer messages left by Defendant during those illegal calls, and
                                   23         invading the privacy of said Plaintiff and the Class members. Plaintiff and
                                   24         the class members were damaged thereby.
                                   25   26.   This suit seeks only damages and injunctive relief for recovery of economic
                                   26         injury on behalf of the Class, and it expressly is not intended to request any
                                   27         recovery for personal injury and claims related thereto. Plaintiff reserves the
                                   28         right to expand or modify the Class definition to seek recovery on behalf of
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                                    1         additional persons as warranted as facts are learned in further investigation
                                    2         and discovery.
                                    3   27.   The joinder of the Class members is impractical and the disposition of their
                                    4         claims in the Class action will provide substantial benefits both to the parties
                                    5         and to the court. The Class can be identified through Defendant’s records or
                                    6         Defendant’s agents’ records.
                                    7   28.   There is a well-defined community of interest in the questions of law and
                                    8         fact involved affecting the parties to be represented. The questions of law
                                    9         and fact to the Class predominate over questions which may affect
                                   10         individual members of the Class, including but not limited to the following:
                                   11             a. Whether, within the four years prior to the filing of this Complaint,
                                   12                Defendant sent any text message (other than a text message made for
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                                   13                emergency purposes or made with the prior express consent of the
                                   14                called party) to a Class member using any automatic telephone
                                   15                dialing system and/or text messaging system to any telephone
                                   16                number assigned to a cellular telephone service;
                                   17            b. Whether Plaintiff and the Class members were damaged thereby, and
                                   18                the extent of damages for such violations; and
                                   19            c. Whether Defendant should be enjoined from engaging in such
                                   20               conduct in the future.
                                   21   29.   As a person who received at least one text message using an automatic
                                   22         telephone dialing system, without Plaintiff’s prior express consent, Plaintiff
                                   23         is asserting claims that are typical of the Class. Plaintiff will fairly and
                                   24         adequately represent and protect the interests of the Class in the Plaintiff has
                                   25         no interests antagonistic to any member of the Class.
                                   26   30.   Plaintiff and the members of the Class have all suffered irreparable harm as
                                   27         a result of the Defendant’s unlawful and wrongful conduct. Absent a class
                                   28         action, the Plaintiff and members of the Class will continue to face the
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                                    1         potential for irreparable harm. In addition, these violations of law will be
                                    2         allowed to proceed without remedy and Defendant will likely continue such
                                    3         illegal conduct. Because of the size of the individual claims of members of
                                    4         the Class, few, if any, members of the Class could afford to seek legal
                                    5         redress for the wrongs complained of herein.
                                    6   31.   Plaintiff has retained counsel experienced in handling class action claims
                                    7         and claims involving violations of the Telephone Consumer Protection Act.
                                    8   32.   A class action is a superior method for the fair and efficient adjudication of
                                    9         this controversy. Class-wide damages are essential to induce Defendant to
                                   10         comply with federal and California law. The interest of members of the
                                   11         Class in individually controlling the prosecution of separate claims against
                                   12         Defendant is small because the maximum statutory damages in an individual
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                                   13         action for violation of privacy are minimal. Management of these claims is
                                   14         likely to present significantly fewer difficulties than those presented in many
                                   15         class claims.
                                   16   33.   Defendant has acted on grounds generally applicable to the Class, thereby
                                   17         making appropriate final injunctive relief and corresponding declaratory
                                   18         relief with respect to the Class as a whole.
                                   19                                FIRST CAUSE OF ACTION
                                   20     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                                   21                                 47 U.S.C. § 227 ET SEQ.
                                   22   34.   Plaintiff incorporates by reference all of the above paragraphs of this
                                   23         Complaint as though fully stated herein.
                                   24   35.   The foregoing acts and omissions of Defendant constitute numerous and
                                   25         multiple negligent violations of the TCPA, including but not limited to each
                                   26         and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                   27   36.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
                                   28         Plaintiff and the Class are entitled to an award of $500.00 in statutory
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                                    1         damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                    2   37.   Plaintiff and the Class are also entitled to and seek injunctive relief
                                    3         prohibiting such conduct in the future.
                                    4                               SECOND CAUSE OF ACTION
                                    5                   KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                                    6                       TELEPHONE CONSUMER PROTECTION ACT
                                    7                                 47 U.S.C. § 227 ET SEQ.
                                    8   38.   Plaintiff incorporates by reference all of the above paragraphs of this
                                    9         Complaint as though fully stated herein.
                                   10   39.   The foregoing acts and omissions of Defendant constitute numerous and
                                   11         multiple knowing and/or willful violations of the TCPA, including but not
                                   12         limited to each and every one of the above-cited provisions of 47 U.S.C. §
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   Santa Ana, California 92705




                                   13         227 et seq.
                                   14   40.   As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
                                   15         227 et seq., Plaintiff and the Class are entitled to an award of $1,500.00 in
                                   16         statutory damages, for each and every violation, pursuant to 47 U.S.C. §
                                   17         227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
                                   18   41.   Plaintiff and the Class are also entitled to and seek injunctive relief
                                   19         prohibiting such conduct in the future.
                                   20                                  PRAYER FOR RELIEF
                                   21         Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and the
                                   22   members of the Class the following relief against Defendant:
                                   23               FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                                   24                            THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                   25         • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
                                   26            Plaintiff seeks for himself and each member of the Class $500.00 in
                                   27            statutory damages, for each and every violation, pursuant to 47 U.S.C. §
                                   28            227(b)(3)(B).
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                                    1         • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                    2            conduct in the future.
                                    3         • Any other relief the Court may deem just and proper.
                                    4     SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL VIOLATIONS OF
                                    5                          THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                    6         • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                    7            § 227(b)(1), Plaintiff seeks for himself and each member of the Class
                                    8            $1,500.00 in statutory damages, for each and every violation, pursuant to
                                    9            47 U.S.C. § 227(b)(3)(B).
                                   10         • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                   11            conduct in the future.
                                   12         • Any other relief the Court may deem just and proper.
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   Santa Ana, California 92705




                                   13                                     TRIAL BY JURY
                                   14   42.   Pursuant to the seventh amendment to the Constitution of the United States
                                   15         of America, Plaintiff is entitled to, and demands, a trial by jury.
                                   16
                                   17   Dated: April 9, 2013                          Respectfully submitted,
                                   18
                                                                                      KAZEROUNI LAW GROUP, APC
                                   19
                                   20
                                                                                         By: __/s/ Abbas Kazerounian
                                   21                                                        ABBAS KAZEROUNIAN, ESQ.
                                   22                                                       ATTORNEYS FOR PLAINTIFF

                                   23
                                   24
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                                   27
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 JS 44 (Rev. 12/07)                                                          CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

  I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Timothy Barrett, Individually and on behalf of all others similarly                                              Ecom Interactive, LLC d/b/a ZBiddy d/b/a ZBiddy.com
situated
     (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.

      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

Kazerouni Law Group, APC; 2700 N. Main Street, Suite 1000
                                                                                                                                                                    '13CV0939 BEN NLS
Santa Ana, CA 92705 (800) 400-6808
 II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
  1     U.S. Government                   3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State          1          1      Incorporated or Principal Place       4      4
                                                                                                                                                           of Business In This State

  2     U.S. Government                   4 Diversity                                                 Citizen of Another State           2         2   Incorporated and Principal Place      5       5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a            3         3   Foreign Nation                        6       6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY               610 Agriculture                    422 Appeal 28 USC 158              400 State Reapportionment
    120 Marine                           310 Airplane                  362 Personal Injury -          620 Other Food & Drug              423 Withdrawal                     410 Antitrust
    130 Miller Act                       315 Airplane Product               Med. Malpractice           625 Drug Related Seizure                28 USC 157                     430 Banks and Banking
    140 Negotiable Instrument                 Liability                 365 Personal Injury -               of Property 21 USC 881                                             450 Commerce
    150 Recovery of Overpayment          320 Assault, Libel &               Product Liability          630 Liquor Laws                     PROPERTY RIGHTS                    460 Deportation
        & Enforcement of Judgment              Slander                   368 Asbestos Personal          640 R.R. & Truck                   820 Copyrights                     470 Racketeer Influenced and
    151 Medicare Act                     330 Federal Employers’             Injury Product             650 Airline Regs.                  830 Patent                              Corrupt Organizations
    152 Recovery of Defaulted                 Liability                       Liability                 660 Occupational                   840 Trademark                      480 Consumer Credit
         Student Loans                    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                      490 Cable/Sat TV
         (Excl. Veterans)                 345 Marine Product            370 Other Fraud                690 Other                                                              810 Selective Service
    153 Recovery of Overpayment               Liability                 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                    850 Securities/Commodities/
         of Veteran’s Benefits            350 Motor Vehicle             380 Other Personal             710 Fair Labor Standards           861 HIA (1395ff)                        Exchange
    160 Stockholders’ Suits              355 Motor Vehicle                  Property Damage                 Act                            862 Black Lung (923)               875 Customer Challenge
    190 Other Contract                        Product Liability         385 Property Damage            720 Labor/Mgmt. Relations          863 DIWC/DIWW (405(g))                  12 USC 3410
    195 Contract Product Liability       360 Other Personal                 Product Liability          730 Labor/Mgmt.Reporting           864 SSID Title XVI                 890 Other Statutory Actions
    196 Franchise                             Injury                                                        & Disclosure Act                865 RSI (405(g))                   891 Agricultural Acts
        REAL PROPERTY                        CIVIL RIGHTS                PRISONER PETITIONS              740 Railway Labor Act               FEDERAL TAX SUITS                  892 Economic Stabilization Act
    210 Land Condemnation                441 Voting                    510 Motions to Vacate          790 Other Labor Litigation         870 Taxes (U.S. Plaintiff          893 Environmental Matters
    220 Foreclosure                      442 Employment                     Sentence                   791 Empl. Ret. Inc.                      or Defendant)                 894 Energy Allocation Act
    230 Rent Lease & Ejectment           443 Housing/                    Habeas Corpus:                     Security Act                   871 IRS—Third Party                895 Freedom of Information
    240 Torts to Land                        Accommodations             530 General                                                             26 USC 7609                         Act
    245 Tort Product Liability           444 Welfare                   535 Death Penalty                   IMMIGRATION                                                        900Appeal of Fee Determination
    290 All Other Real Property          445 Amer. w/Disabilities -    540 Mandamus & Other           462 Naturalization Application                                              Under Equal Access
                                              Employment                 550 Civil Rights               463 Habeas Corpus -                                                         to Justice
                                          446 Amer. w/Disabilities -    555 Prison Condition               Alien Detainee                                                      950 Constitutionality of
                                              Other                                                      465 Other Immigration                                                       State Statutes
                                          440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
  1 Original             2 Removed from                     3 Remanded from                      4 Reinstated or  5 Transferred  from
                                                                                                                         another district   6 Multidistrict                         7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      47 U.S.C. § 227 et seq. ; 5:552
 VI. CAUSE OF ACTION Brief description of cause:
                      Violations to the Telephone Consumer Protection Act
 VII. REQUESTED IN   
                      CHECK IF THIS IS A CLASS ACTION     DEMAND $                                                                                     CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER F.R.C.P. 23           5,000,001.00+                                                                                      JURY DEMAND:         
                                                                                                                                                                              Yes      No
 VIII. RELATED CASE(S)
                                                (See instructions):
       IF ANY                                                           JUDGE                                                                   DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
   04/19/2013                                                             s/Abbas Kazerounian
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE
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JS 44 Reverse (Rev. 12/07)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                  Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.          Example:               U.S. Civil Statute: 47 USC 553
                                                  Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
